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                                        UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF COLUMBIA


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UNITED STATES OF AMERICA                                       :

       - v. -                                                  :

EDWARD FRANCISCO RODRIGUEZ,                                    :   21-CR-483-DLF

          Defendant.                                           :

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 DEFENDANT’S UNOPPOSED MOTION TO CONTINUE STATUS CONFERENCE



          Defendant, Mr. Edward Francisco Rodriguez, files this unopposed motion to continue the

status conference in this case, which is currently scheduled for November 1, 2021 at 10:00 a.m.

approximately 90 days. Government counsel does not oppose this request. Additionally, the

following facts and circumstances support Mr. Rodriguez’s request for a continuance of the status

conference:
     1. Mr. Rodriguez is charged with crimes associated with an assault on a federal officer, trespass,

          and disorderly conduct on Capitol grounds on or about January 6, 2021.
     2. Mr. Rodriguez is currently on pretrial release and is in compliance with all conditions of his

          release.

     3. The government recently disclosed several large batches of discovery in this case. Some of

          the discovery is so voluminous that a website database was created in collaboration between

          the United States Attorney’s Office and the Office of the Federal Defender for the District

          of Columbia specifically to permit disclosure of discovery. Additionally, certain discovery

          will require the exchange of physical hard drives provided by the defense via mail.
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   4. The government continues to provide discovery and the defense will be setting meetings to

       facilitate the review of discovery with Mr. Rodriguez.

   5. The parties believe the requested continuance will allow for further production and review

       of discovery, which may facilitate resolution of this case prior to trial.

   6. The parties agree that time may properly be excluded under the Speedy Trial Act pursuant to

       18 U.S.C. § 3161(h)(7), as the exclusion would serve the ends of justice and outweigh
       the interest of the public and of Mr. Rodriguez in a speedy trial.


       For the foregoing reasons, Mr. Rodriguez respectfully requests that the Court continue the

status conference currently set for November 1, 2021 for approximately 90 days.


DATED:         October 29, 2021                         Respectfully submitted,


                                                        /s/ Nora K. Hirozawa
                                                        NORA K. HIROZAWA
                                                        Attorney for Mr. Rodriguez
                                                        Federal Defenders of New York, Inc.
                                                        One Pierrepont Plaza, 16th Fl.
                                                        Brooklyn, NY 11201
                                                        Tel.: (718) 330-1200



                                CERTIFICATE OF SERVICE

         I hereby certify that on October 28, 2021, I electronically filed the foregoing with
the clerk of the court by using the CM/ECF system, which will send a notice of electronic
filing to Ms. Prout, Assistant United States Attorney.


                            CERTIFICATE OF CONFERENCE

       The AUSA is unopposed to this motion.


                                                        /s/ Nora K. Hirozawa
                                                        NORA K. HIROZAWA
